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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 JONESBORO DIVISION

OLD ST. PAUL MISSIONARY
BAPTIST CHURCH                                                                       PLAINTIFF

v.                                    3:07CV00043-WRW

FIRST NATION INSURANCE GROUP;
AA RISK MANAGEMENT, INC.; AA
COMMUNICATIONS, INC.; GWEN MOYO;
CRAIG GREENE; JOHN DOES 1-10; and
DOE COMPANIES 1-10                                                                DEFENDANTS

                                             ORDER

       As directed by Order (Doc. No. 18) entered on May 25, 2007, Defendants’ AA Risk

Management, Inc., AA Communications, Inc., Gwen Moyo, and Craig Greene have retained local

counsel, Ms. Bettina Brownstein of Wright, Lindsey, & Jennings, Little Rock, AR, and she has

timely entered her appearance. Defendant First Nation Insurance Group remains unrepresented.

       Defendants have until Friday, June 22, 2007 to respond to Plaintiff’s Motion to Remand

(Doc. No. 9). Even though Defendant First Nation is currently proceeding pro se, it will be required

to follow the rules which lawyers are required to follow, including the local rules of the Eastern

District of Arkansas.

       IT IS SO ORDERED this 1st day of June, 2007.




                                                           /s/Wm. R. Wilson, Jr.
                                                     UNITED STATES DISTRICT JUDGE
